Case 6:14-CV-06042-RTD Document 1 Filed 03/27/14 Page 1 of 61 Page|D #: 1

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Eric Flores , pro se pefitioner _ MAR 27 2014
11669 Gw§n Evans Lane CP]IBI;IS R. JOHNSON, clerk..
E1 Paso TeXas 7 9936 pmme f
VS, / §/- § 0 912

United States Attorney General, Department of Justice Bujlding , 950
Pennsylvania Avenue N.W-, Washj;ngton D.C., 20530 , respondent

United Staites Depa:rtment of Health and Human Sefvices
200 Independehce Avnue S ..W ,Washjngton D.C., 20201,respondant

Pub]ic Health Service named Sierra Medical Center ,respondant
3280 Joe Battle Blvd. ,El Paso TeXaS 7 9936

 

FEDERAL TORT COM:PLAINT AGAINST TORTURE

 

(1)Table of Contents

(2)Certif1cation of Class Action

(3) Questions Presented

(4) Constitutional Statutes

(5)Ex.haustion of Admj_nistrative R_em`edies

(G)Jurisdictional Statement '

('7)Statement of the Case . ‘ ~ 4 ."` '
(S)Statement of Facts _ _ ":A:
(9) Summal'y of Argument
(10)A1‘g'ument
(11)Conc1ussion and Prayer

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page'Z of 61 Page|D #: 2

§2) Certification of Class Action

Pursuant to Federal Rule of Civil Procedure no.23 the petitioner Eric
Flores is proceeding informa pauperis and pro se as the representative
party to seek relief from imminent danger such as death on behalf of a
protected class of mexican american citizens of the United States that is
so numerious that joinder of all members is impracticable.

The petitioners Eric Flores Will fairly and adequate protect the interest
of the members of the class by contending claims or defenses that are
seeking relief from imminent danger such as death Which are typical of
the claims or defenses of the members of the class as a Whole.

The court .Will End that the questions of law or fact common to class

members predominate over any questions affecting only individual
members, and that a class action is superior to other available methods
for fairly and efficiently adjudicating the controversy.
The names and addresses of the serviveing members of the protected
class of Mexican American citizens of the United States are as follows ,
in particular ;
. (a) Javier Vensorl Flores Senior is ,a party of interest Whom resides at

761 Delhi _Dr., Socorro TeXas 7 992’7-

 

Case 6:14-cV-O6O42-RTD .Document 1 Filed 03/27/14 Page 3 of 61 Page|D #: 3

(b) Cyntbia Lorenza Flores is a party of interest Whoms place of

business is designated at General Delivery 8401 Boei_ng Dr., El Paso

TeXas 7 9910.

( c) Javier Flores Junior is the deceased party of interest Whoms place
of business is designated at General Delivery , 8401 Boeing Dr., El Paso
TeXas 7 9910.

(d) Eric Flores is the representative party Whoms place of business is
designated at General Delivery 8401 Boeing Dr-, .El Paso TeXas 7 9910 .
(e) Andy Flores is a party of interest Whoms place of business is
designated at General Delivery , 8401 Boeing Dr., El Paso TeXas 7 9910.
(f) Joanna Flores is a party of interest Whoms place of business is
designated at General Delivery , 8401 Boeing Dr., El Paso TeXas 7 9910.
(g) Steven Floresis a party of interest Whoms place of business is
designated at General Delivery, 8401 Boeing Dr., El Paso TeXas 79910.
(h) Micheal Rene Flores is a party of interest Whoms place of business is
designated at General Delivery , 8401 Boeing D_r., El Paso TeXas 7 9910.
(i) Evageljna Salas Mendoza is the deceased member of this class

actions Whoms place of'business is designated at General Delivery ,

8401 Boeing l)r., El Paso TeXas 7 9910.

 

 

 

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 4 of 61 Page|D #: 4

.@) Jorge Salas is the deceased member of this class action Whoms_place
of business is designated at General De]ivery , 8401 Boeing Dr., El Paso
Texas 7 9910.

(k) Marciano Flores is the deceased member of this class action whoms
place of business is designated at General Delivery , 8401 Boeing Dr., El
Paso TeXas 79910.

(1) Mary Salas is the deceased member of this class action Whoms place

of business is designated at General Delivery , 8401 Boeing Dr., El Paso

Texas 7 9910.

(m) Connie Salas is t~he deceased member of this class action Whoms
place of business is designated at General Delivery , 8401 Boeing Dr., El
Paso TeXas 7 9910.

(n) Cebastian Machiavelli Alva is a seven month old newborn child
Whom is a party of interest whoms place of business is designated at

n General Delivery, 8401 Boeing Dr., El Paso TeXas 7 9910.

(o) Miguel Huerta is the deceased member of this class action Whoms

Place of business is designated at General Delivery , 8401'B0eing Dr.,

El Paso TeXas 7 9910.

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 5 of 61 Page|D #: 5

(p) Piedro l\/lendoza is the deceased member of this class action whoms

place of business is designated at General Delivery , 8401 Boeing Dr., El

Paso TeXas 79910.

(q) Jose Medriano is the deceased member of the class action whoms

address is designated at General Delivery , 8401 Boeing Dr., El Paso

Texas 7 9910.

(3) Questions Presented

(i)Whether there exist a substantial likelihood that the petitioner and
his immediate relatives will suffer irreparable injury such as death if

injunctive relief can not be obtained-

(ii) Whether the serious injury such as death that the petitioner and his

immediate relatives will suffer if injunctive relief can not be obtained is
far greater than the legal injury , if any , that the-respondants will
suffer if injunctive relief is obtained.

(iii) Whether the injunctive relief will .sevre the public interest by
prohibiting a racially bai`sed white supremist organized group of person
of white American national origin from engageing in negligent
torturious conduct causeing serious injury such as death against a

protected class of Mexican American citizens of the United states of

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 6 of 61 Page|D #: 6

America whom are hereby designated as the petitioner and his

immediate relatives.

tiv) Whether it is necessary for the court to enter a order for the United
States Attorney General tov show cause why its employees , oH:icers ,
agents , or agencies are useing deadly technology to torture the
petitioner and his immediate relatives without the authorization of the
United States government

(v) Whether it is necessary for the court to enter an order for the United
States Department of Health and Huma_n Services to assist the court
with collecting protected health information from a public health
service entities that can prove that the petitioner and his immediate
relatives had sustained life threatening injuries almost leading to their
death as a result of being tortured. l

(4) Constitutional Statute

Federal Tort Claims Act_ 28 U.S.C. & 2671-2680

Venue of Jurisdiction 28 U.S.C. 1391(b)

Federal Rule of Civil Procedure no.23

li`ederal Rule of Civil Procedure no-26

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 7 of 61 Page|D #: 7

LMLKLLF_MMM

Pursuant to 28 U-S-C. & 267 5 the petitioner Eric Flores has exhausted
administrative remedies by,sending a written letter and legal pleadings
via United lStates mail to notify the.United StatesAttorney Generals
Off:ice in Washington D.C.? that its agents , agencies , employees , or
officers have tortured to death more than three members of a protected

class of mexican american citizens of the United States without the

authorization of the United States government

The petitioner Eric Flores requested for the United States Attorney
General in Washington D.C., to take preventive meassures such as

_ lawful sanctions to prohibit its agents , agencies , employees or officers
from further tortureing to death another member of the protected class

of mexican american citizens of the United States without the

authorization of the United States government

As a result the complained about agents , agencies , employees , or.
officers have retaliated against the petitioner Eric Flores for
complaining to the United States Attorney General Office by recently

tortureing to death the petitioners brother Javier Flores Junior a

 

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 8 of 61 Page|D #: 8

member of the protected class of mexican american citizens of the
United St'ates without the authorization of the United States

government

Even more recently within the last couple of days the complained about
agents , agencies , employees , or ofEcers have further retaliated against
the petitioner for complaining to the United States Attorney Generals
OfEce by impairing the body functions of a eight month old new born
baby named Ceb astian Alva requireing medical surgery on two seperate
ocassions from a forensic medical professional in a freeworld hospital

named Sierra Medical Center located at 3280 Joe Battle Blvd.‘, El Paso
Texas 7 9938.

The United States Attorney General has failed to responed within the
last tweelve months directly to the petitioners written letters and legal
pleadings which is hereby constituted as a general denial for the
purpose of iileing this foregoing "Federal Tort Complaint Against
Torture" to include its attachments without having to wait for a

response by the United States Atto_rney General Office in Washington
D.C.,.

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 9 of 61 Page|D #: 9

Recently within the last couple of days the United States Attorney
Generals OfEice has only responded to a "Petition for Writ of Certiorari"
iiled in the United States Supreme Court which is pertinent to this
foregoing "Federal Tort Complaint Against Torture" to include the

"Motion for Leave to Proceed lnforma Pauperis" that is being fled for

review and consideration in the United S_tates District Court in

A@@nas_.

The United States Attorney General response stated that the

government hereby waives its right to tile a response to,the petition in

this case unless requested to do so by the Court.

The petitioner Eric Flores does not believe that the United States
Attorney General will enter a response to this foregoing "Federal Tort
Complaint Against Torture" to include the"l\/lotion for Leave to Proceed

lnforma Pauperis" that is being filed in the United States,l)istrict Court
in rk;\§_asaa.§.
(6) Jurisdictional Statement

. Pursuant to 28 U.S.C. & 1391 (b) wherein the jurisdiction‘is not

founded solely on diversity of citizenship may , except as otherwise

` Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 10 of 61 Page|D #: 10

provided by law , be brought only in ; a district wherein the respondants

reside or place of business is designated if all the respondants reside or
place of business.is designated in the same geographic location where
the civil action is being brought or ; (2) a district in which a substantial
part of the events or omissions giving rise to the legal claims occurred ,
or ; (3) a district in which_any respondants may be found , if there is no
district where the action may otherwise be brought

ln this particular civil case , the petitioner has established venue of

jurisdiction in the United States District Court in wm by

asserting that ; (1) the respondants residency or place of business is

within the geographic location of MM: and that ; (2) the

respondan_ts acts or omissions that give rise to the legal claims occurred

from within the geographic location of MMWhere the legal

claims are being iiled in the United States .District Court in
The aforementioned two jurisdictional factors satisfy the burden of

establishing the prerequisite of venue of jurisdiction in the United

States District Court in wm the purpose of

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 11 of 61 Page|D #: 11

adjudicateing the petitioners “Federal Tort Complaint Against Torture”

for want of prosecution

-§7) Statement of the Case

(1) Scope and Purpose of Federal Tort Claim.

The petitioner Eric Flores has asserted a Federal Tort Claim of cruel
and unusual punishment against the negligent torturious acts or
omissions of the complained about executive employees of the federal
government that are persons of white American national origin whom
have used deadly technology to cause the_wrongful death of Javier
Flores Junior, Jorge Salas , Mary Salas, Connie Salas , Eav'gelina.Salas
l\/.[endoza, and lV.[arciano Flores the deceased members of the class
action.

The Federal Tort Claims Act was adopted by congress to provide certain -
remedies to claimants against a governmental employees negligent
torturious conduct that has resulted in wrongful death when it had
previously been barred by the doctrine of sovereign immunity.

The Federal Tort Claims Act recognizes the most important principles
that the United States should waive its historical defense of sovereign

immunity and except liability for its government employees negligent

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 12 of 61 Page|D #: 12

torturious conduct resulting in the wrongful death of citizens of the

United States.

ln order to satisfy any reasonable doubt of the United States sovereign
immunity _it is necessary for the court to enter an order issueing
directives for the United States Attorney General to show cause why its
agents , of&cer, employees, or agencies are using advanced technology
with a direct signal to the satellite in outerspac`e that has the capability
of calculateing a genetic code to cause the petitioner and hislimmediate
relatives severe physical and mental pain for long durations exceeding
calendar years which was equivalent in intensity to organ failure ,
impairment of body functions , and death.

The purpose of the show cause order is for the court to determine
whether the complained about executive employees of the federal
government that are persons of white American national origin were
acting in the course of their ofEcial duties by tortureing the petitioner
and his immediate relatives under the authority of the United States
Government and\or to determine whether the complained about
executive employees of the federal government that are persons of white

American national origin had a biased motive other than an official

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 13 of 61 Page|D #: 13

nature for tortureing the petitioner and his immediate relatives without

the authorization of the United States Government.

§8) Statement of Facts

18 U.S.C. & 2340 Torture

As used in this complaint

(1)“torture” means an act committed by a person acting under the color `
of law speciEcally intended to inflict severe physical or mental pain or
suffering (other than pain or suffering incidental to lawful sanctions)
upon another person within his custody or physical control;

(2)“severe mental pain or suffering” means the prolonged mental harm

caused by or resulting from_

(A)the intentional infliction or threatened infliction of severe physical
pain or suffering;

(B)the administration or application, or threatened administration or

_ application, of mind-altering substances or other procedures calculated
to disrupt profoundly the senses or the personality;

(C)the threat of imminent death; or

(D)the threat that another person will imminently be subjected to

death, severe physical pain or suffering, or the administration or

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 14 of 61 Page|D #: 14

application of mind-altering substances or other procedures calculated

to disrupt profoundly the senses or personality; and
~ (3)”United States” means the several States of the United States, the
District of Columbia, and the commonwealths, territories, and

possessions of the United States.

(I)Discription of Torture

The Eric Flores is proceeding informa pauperis and pro se as the

representative party on behalf of a protected class of l\/lexican American

citizens of the United States to complain against diplomatic persons of

another nation that have 'solicitated an organized group of executive

employees of the federal government that are persons of white

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the cap ability of

calculateing a genetic code to cause the petitioner and his immediate
relatives severe physical or mental pain for long durations exceeding

l calendar years which was equivalent in intensity to organ failure ,

impairment of body functions , and death.

The following is a description of the acts of torture that were inflicted

upon the petitioner and his immediate relatives which are supported by

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 15 of 61 Page|D #: 15

freeworld hospital medical records showing that the petitioner and his

immediate relatives seeked medical treatment for extraordinary
injuries as a result of being tortured for long durations exceeding
calendar years which was equivalent in intensity to organ failure ,
impairment of body functions , and death.

(A)The petitioner Eric Flores describes the acts of torture that were
inflicted upon his mother Cynthia Lorenza Flores whom is of competent
and sound mind to attest to the following acts of cruel and unusual

' punishment resulting in more than de minimus injuries.

(i)The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Cynthia Lorenza Flores severe
mental pain for long durations exceeding calendar years which was
equivalent in intensity to profoundly disrupt her personality and senses
for the purpose of takeing physical control of her mental state of mind

to compel her into an act of dures such as solicitateing or using a

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 16 of 61 Page|D #: 16

controlled substance named cocaine that is drastically deteriateing her

physical appearance and mental state of mind almost leading to her
death requiring medical treatment from a forensic medical professional

in a freeworld hospital named Sierra lV.[edical Center located at 3280

Joe Battle Blvd., El Paso Texas 7 9938.
(ii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
l executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Cynthia Lorenza Flores severe
psychological mental harm or pain for long durations exceeding
calendar years which was equivalent intensity to cause her body
tempatures to raise above llO% degrees resulting in what appeared to
be large black and red bubbled abrasions such as second degree burns
around her neck, head, and body which almost resulted in her death
requiring medical treatment from a forensic medical professional in a

freeworld hospital named Sierra l\/ledical Center located at 3280 Joe

Battle Blvd., El Paso Texas 7 9938.

 

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 17 of 61 Page|D #: 17

l (iii) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated err organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Cynthia Lorenza Flores severe
spinal pain for long durations exceeding calendar years which was
equivalent intensity to result in an impairment of her body functions
almost leading to her death requiring medical treatment from a forensic
medical professional in a freeworld hospital named Sierra l\/ledical
Center located at 8280 Joe. Battle Blvd., El Paso Texas 79988.

(iv), The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Cynthia Lorenza Flores severe
heart pain for long durations exceeding calendar years which was

equivalent intensity to cardiac and respatory failure almost resulting in

 

 

 

 

 

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 18 of 61 Page|D #: 18

her death requiring medical treatment from a forensic medical
professional in a nceeworld hospital named Sierra l.\/ledical Center

located at 8280 Joe Battle Blvd., El Paso Texas 7 9938.

(v) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
_American national origin to use advanced technology with a direct
signal to the satellite in outersp ace that has the cap ability of
calculateing a genetic code to virtuely communicate vulgar language to
harrasse Cynthia Lorenza Flores mental state of mind for long
durations exceeding calendar years which was equivalent intensity to
cause her mental exhaustion leading to sleep deprivation almost
resulting in her death requiring medical treatment from a forensic
medical professional in a freeworld hospital named Sierra Medical
'Center located at 8280 Joe Battle Blvd., El Paso Texas 7 9988.

(vi) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white

American national origin to use advanced technology with a direct

 

 

Case 6:14-cV-O6O42-RTD Document 1 Filed 03/27/14 Page 19 of 61 Page|D #: 19

signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to cause Cynthia Lorenza Flores severe
abdominal pain for long durations exceeding calendar years which was
equivalent intensity to form a combustion in her lower abdominal
region resulting in her deicateing blood during her bowmovement
requiring medical treatment from a forensic medical professional in a
freeworld hospital,named Sierra lV.[edical Center located at 3280 Joe
Battle Blvd., El Paso Texas 79938. l

(vii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate threats to use a
weapon such as a gun to shoot and cause the death of Cynthia Lorenza
Flores or her immediate relatives in retaliation to the invocation of the
_ petitioner constitutional right to complain in a court of law against the
organized group of executive employees of the federal government for

tortureing to death more than three members of a protected classs of

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 20 of 61 Page|D #: 20

Mexican American citizens without the authorization of the United

Stetes government

(viii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to take physical control of Cynthia Lorenza
Flores mental state of mind while she is driving a vehicle for the
purpose of compeling her into an act of dures such as crashing her
vehicle into another object or person so as to cause her serious physical
injury almost leading to her death requiring medical treatment from a
forensic medical professional in a freeworld hospital named Sierra
l\/ledical Center located at 3280 Joe Battle Blvd., El Paso Texas 7 9938.
(ix) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 21 of 61 Page|D #: 21

calculateing a genetic code to take physical control of another persons

mental state of mind While that person is drivinga vehicle for the
purpose of compelling that person into an act of dures such as crashing
that persons vehicle into Cynthia Lorenza Flores or her immediate
relatives in attempt to cause there death as a form of retaliation against
the invocation of the petitioner constitutional rights to complain in a
federal court of law against the organized group of executive employees
of the federal government for tortureing to death more than three d
members of a protected class of l\/lexican American citizens without the
authorization of the United States government

(x) The petitioner Eric li`lores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to raise Cynthia Lorenza Flores blood
pressure to high abnormal levels for long durations exceeding calendar
days in which was equivalent in intensity to cardiac and resp atory

failure almost leading to her death requiring medical treatment from a

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 22 of 61 Page|D #: 22

medical professional at a freeworld hospital named Sierra l\/ledical

Center located at 3280 Joe Battle Blvd., El Paso Texas 7 9936.

(xi) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to profoundly disrupt the personality and
senses of Cynthia Lorenza Flores for long durations exceeding calendar
yaers in which is to take physical control of her mental state of mind to
compel her into an act of dures by a calculated procedures to have
sexual intercourse with another person of Mexican American national
origin by the name of Eddie whom is directly related to a member of the
organized group of executive employees of the federal government
constituteing sexual assault in the first degree resulting in vineral
diseases requiring medicaltreatment from aforensic medicalp'rofessional

in a freeworld hospital named Sierra Medical Center locatedat 3280 Joe

Battle Blvd.,El Paso Texas 7 9936.

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 23 of 61 Page|D #: 23

' (x) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group oft
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Cynthia Lorenza Flores severe
gulblatter pain for long durations exceeding calendar days in which is
eqyuivalent in intensity to impair her gulblatter functions promoteing '
an abcess that almost lead to her death requiring medical treatment
from a forensic medical professional to keep her from dieing at a
freeworld hospital named Sierra l\/ledical Center located at 3280 Joe

Battle Blvd-, El Paso Texas 7 9938.

(B) The petitioner Eric Flores describes the acts of torture that were
inflicted upon his father Javier Vensor Flores Senior whom is of
competent and sound mind to attest to the following acts of cruel and
unusual punishment resulting in more than de minimus injuries.

(i) The petitioner Eric -Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of

executive employees of the federal government that are persons of white

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 24 of 61 Page|D #: 24

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Vensor Flores Senior severe
mental pain for long durations exceeding calendar years which was
equivalent in intensity to profoundly disrupt his personality and'senses
for the purpose of takeing physical control of his mental state of mind to
compel him into an act of dures such as solicitateing or using a
controlled substance named cocaine that is drastically deteriateing his
physical appearance and mental state of mind almost leading to his
death requiring medical treatment from a forensic medical professional
in a freeworld hospital named Sierra l\/ledical Center located at 8280
Joe Battle Blvd., El Paso Texas 79938.

(ii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Vensor Flores Senior severe

spinal pain for long durations exceeding calendar years which was

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 25 of 61 Page|D #: 25

equivalent in intensity to result in an impairment of his body functions
almost leading to his death requiring medical treatment Jfrom a forensic
medical professional in a freeworld hospital named Sierra Medical
Center located at 3280 Joe Battle Blvd., El Paso Texas 7 9938.'

(iii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Vensor Flores Senior severe
abdominal pain for long durations exceeding calendar years which was
equivalent in intensity to form an inflammation of an abcess specifically
near the area of his liver and kidney leading to organ failure almost
resulting in his death requiring medicaltreatment from a forensic
medical professional in a Jfreeworld hospital named Sierra Medical
Center located at 3280 Joe Battle Blvd., El Paso Texas 7 9938.

(iv) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of

executive employees of the federal government that are persons of white

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 26 of 61 Page|D #: 26

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to cause Javier Vensor Flores Senior severe
abdominal pain for long durations exceeding calendar years which was
equivalent in intensity to form a combustion in his lower abdominal
region resulting in him deficateing blood during his bowmovement
requiring medical treatment Jncom a forensic medical professional in a
ireeworld hospital named Sierra _Medical Center located at 8280 Joe
Battle Blvd., El Paso Texas 7 9938.

(v) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Vensor Flores Senior severe
heart pain for long durations exceeding calendar years which was
equivalent in intensity to cardiac and respatory failure almost leading

to his death requiring medical treatment Jhcom a forensic medical _

 

 

Case 6:14-cV-06042-RTD Documer'it 1 Filed 03/27/14 Page 27 of 61 Page|D #: 27 -l

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professional in a freeworld hospital named Sierra l\/ledical Center

located at 3280 Joe Battle Blvd-, `El Paso Texas 79938.

'(vi) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to virtuely communicate threats to use a
weapon such as a gun to shoot and cause the death of Javier Vensor
Flores Senior or his immediate relatives'in retaliation to the invocation
of the petitioner constitutional rights to complain in a federal court of
law against the organized group of executive employees of the federal
government for tortureing to death more than three membes of a
protected class of l\/.[ex;ican American citizens without the authorization
of the United States government

(vii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white

American national origin to use advanced technology with a direct

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 28 of 61 Page|D #: 28

signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate valgur language to
harrasse Javier Vensor Flores Senior mental state of mind for long
durations exceeding calendar years which was equivalent intensity to
cause him mental exhaustion leading to sleep deprivation almost
resulting in his death requiring medical treatment from a forensic
medical professional in a freeworid hospital named Sierra Medical

Center located at 3280 Joe Battle Blvd., El Paso Texas 7 9938.

(viii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a'&rect
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to take physical control of Javier Vensor
Flores Senior mental state of mind while he is driving a vehicle for the
purpose of compeling him into an act of dures such as crashing his
vehicle into another object or person so as to cause him serious physical

injury almost leading to his death requiring medical treatment from a

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 29 of 61 Page|D #: 29

forensic medical professional in a freeworid hospital named Sierra

Medical Center located at 3280 Joe Battle Blvd,7 El Paso Texas 7 9988.
.(ix) The petitioner Eric Flores complains that there .are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of
calculateing a genetic code to take physical control of another persons
mental state of mind while that person is driving a vehicle for the
purpose of compelling that person into an act of dures such as crashing
that persons vehicle into Javie_r Vensor Flores Senior or his immediate
relatives in attempt to cause there death as a form of retaliation against
the invocation of the petitioner constitutional rights to complain in a
federal court of law against the organized group of executive employees
of the federal government for tortureing to death more than three
members of a protected class of l\/lexican American citizens without the
authorization of the United States government t

(x) The petitioner Eric Flores complains that there .are diplomatic

persons of another nation that have solicitated an organized group of

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 30 of 61 Page|D #: 30

executive employees of the federal government that are persons of white
Ainerican national origin to use advanced technology With a direct
signal to the satellite in outerspace that has the cap ability of d
calculateing a genetic code to cause Javier Vensor Flores Senior high

blood pressure for long durations exceeding calendar days in which was

 

equivalent in intensity to cardiac and respatory failure almost leading

to his death requiring medical treatment lncom a forensic
medicalprofessional in a freeworld hospital named Sierra Medical
Center located at 3280 Joe Battle Blvd.7 El Paso Texas 7 9936.

(xi) The petitioner Eric Flores complains that there .are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use'advanced technology with a direct

- signal to the satellite in outerspace that has the capability of

calculateing a genetic code to raise Javier Vensor Flores Senior sugar j

 

blood levels to an abnormal rate for long durations exceeding calendar
days in which was equivalent in intensity to cause him uncontrollable

diabietes that is eating away at his eye cornia and lever almost leading

to his death requiring medical treatment from a` forensic medical

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 31 of 61 Page|D #: 31

professional to keep him nom dieing at a freeworld hospital named

Sierre l\/ledical Center located at 3280 Joe Battle Blvd., El Paso Texas
79 9 88.
(C) The petitioner Eric Flores describes the acts of torture that caused
the death of the petitioner brother Javier Flores Junior in retaliation to
the invocation of the petitioner constitutional rights to complain in a
court of law against the organized group of executive employees of the
federal government for tortureing to death more than three members of
a protected class of l\/lexican American citizens without the
authorization of the United States government
(i) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons `of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Flores Junior severe mental
pain for long durations exceeding calendar years which was equivalent
in intensity to profoundly disrupt his personality and senses for the

purpose of distorting his mental state of mind so as to not allow him to

 

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 32 of 61 Page|D #: 32

competently answer a medical professional questions to determine the
competency of his mental capacity to stand trail for the criminal

proceedings then pending against him in which was to deem him
incompetent to stand trail with a mental disorder to remand him into a

mental health facility named El Paso County Psychiatric Center located

at 4505 Alameda Avenue El Paso Texas 7 9905.

(ii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Flores Junior severe spinal
pain for long durations exceeding calendar years which was equivalent
in intensity to an impairment of his body functions almost resulting in
his death requiring medical treatment from a forensic medical
professional in a freeworld hospital named Sierra Medical Center
located at 8280 Joe Battle Blvd., El Paso Texas 7 9938. n

(iii) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 33 of 61.Page|D #: 33

executive employees of the federal government that are persons of white

Anierioen`netionei origin to use advanced teohnoiogy with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause javier Flores Junior severe heart
pain for long durations exceeding calendar years which was equivalent
in intensity~to cardiac and respatory failure almost resulting in his
death requiring medical treatment from a forensic medical professional
in a freeworld hospital named Sierra Medical Center located at 3280
Joe Battle Blvd., El Paso Texas 7 9988.
(iv) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white

American national origin to. use advanced technology with a direct

 

signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Javier Flores Junior severe
abdominal pain for long durations exceeding calendar years which was
equivalent in intensity to form a combustion'in his lower abdominal
region resulting in him deicateing blood during his bowmovement

requiring medical treatment from a forensic medical professional in a

M sdwa-mem 1

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 34 of 61 Page|D #: 34

freeworld hospital named Sierra l\/ledical Center located 3280 Joe Battle

Blvd., El Paso Texas 7 9938.

.(v) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
An_ierican national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate vulgar or malicious
language to harrasse Javier Flores Junior mental state of mind for long
durations exceeding calendar years which was equivalent in intensity to
mental exhaustion leading to sleep deprivation almost resulting in his
death requiring medical treatment from a forensic medical professional
ln a heeworld hospital named Sierra l\/ledical Center located at 3280
Joe‘ Battle`Blvd., El Paso Texas 7 9938.

(vi) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 35 of 61 Page|D #: 35

calculateing a genetic code to Javier Flores Junior severe mental pain

for long durations exceeding calendar days in which was equivalent in
intensity to a great amount of pain to his brain that impaired his ability
' to mentally function like a normal human being almost leading to his
death requiring medical treatment Jfrom a forensic medical professional
to keep him from dieing in a freeworld hospital named Sierra Medical
Center located at 8280 Joe Battle Blvd., El Paso Texas 7 9988.
(vii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use a gun to shoot and cause the death of
Javier Flores Junior in retaliation to the invocation of the petitioner
constitutional rights to complain in a court of law against the organized
group of executive employees of the federal government for tortureing to `
death more than three members of a protected clas of Mexican
American citizens without the authorization of the United States
government
(D) The petitioner Eric Flores describes the acts of torture that caused

him more than de minimus injuries in retaliation to the invocation of

 

Case 6:14-cv-06042-RTD` Document 1 Filed 03/27/14 Page 36 of 61 Page|D #: 36

his constitutional rights to complain ina federal court of law against
the organized group of executive employees of the federal government

for tortureing to death more than three members of a protected class of
Mexican American' citizens without the authorization of the United
States government l

(i) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated any organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal'to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Eric Flores severe mental pain for
long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his brain such as an
aneriyzuni leading to brain damage almost resulting in his death
requiring medical treatment from a medical professional in a i`reeworid
hospital named Sierra l\/ledical Center located at 8280 Joe Battle Blvd.,
El Paso Texas 79938.

(ii) The petitioner Eric _Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 37 of 61 Page|D #: 37

executive employees of the federal government that are persons of white

American national origin to use advanced technology With a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Eric Flores severe spinal pain for
long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his upper and lower back
resulting in an impairment of his body functions almost leading to his
death requiring medical treatment from a medical professional in a
freeworid hospital named Sierra Medical Center located at 3280 Joe
Battle Blvd., El Paso Texas 7 9938. l

(iii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Eric Flores severe heart pain'for

l long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his heart such as cardiac and

respatory failure almost resulting in his death requiring medical

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 38 of 61 Page|D #: 38

treatment from a medical professional in a freeworld hospital named

Sierra l\/iedical Center located at 8280 Joe Battle Blvd., El Paso Texas
79938.

(iv) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outersp ace that has the capability of
calculateing a genetic code to cause Eric Flores severe abdominal pain
for long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his stomach such as a
combustion in his lower abdominal region causeing him to deiicate
blood during his bowmovement almost resulting in his death requiring
medical treatment from a medical professional in a freeworld hospital
named Sierra l\/ledical Center located at 3280 Joe Battle Blvd., El Paso
Texas 7 9938.

(v) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of

executive employees of the federal government that are persons of white

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 39 of 61 Page|D #: 39

American national origin to use advanced technology with a direct

signal to the satellite in outerspace.that has the capability of
calculateing a genetic code to virtuely communicate vulgar or malicious
language to harrasse Eric Flores mental state of mind for long
durations exceeding calendar years which was equivalent in intensity to
an extreme amount of mental distress such as mental exhaustion
leading to sleep deprivation almost resulting in his death requiring
medical treatment from a medical professional in a freeworld hospital
named Sierra l\/.[edical Center located at 3280 Joe Battle Blvd., El Paso
Texas 7 9938.

(vi) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate threats to use a
weapon such as a gun to shoot and cause the death of Eric Flores or his
immediate relatives in retaliation to the invocation of the petitioner

constitutional rights to complain in a court of law against the organized

 

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 40 of 61 Page|D #: 40

group of executive employees of the federal government for tortureing to

death more than three members of a protected class of Mexican
American citizens without the authorization of the United States
government

(vii) The petitioner Eric Flores complains that there are diplomatic
persons of. another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct

' signal to the satellite in outerspace that has the capability of
calculateing a genetic code to take physical control of Eric Flores mental
state of mind while he is driving a vehicle for the purpose of compeling
him into an act of dures such as crashing his vehicle into another object

or person so as to cause him serious physical injury almost leading to

his death requiring medical treatment from a forensic medical
professional in a freeworld hospital named Sierra Medical Center
located at 3280 joe Battle Blvd, El Paso Texas 7 9938.

(viii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of

executive employees of the federal government that are persons of white

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 41 of 61 Page|[_) #: 41

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of

calculateing a genetic code to take physical control of another persons

mental state of mind while that person is driving another vehicle for the

purpose of compelling that person into an act of dures such as crashing

his vehicle into Eric Flores or his immediate relatives in attempt to

` cause there death as a form of retaliation to the invocation of his
constitutional rights to complain against the organized group of
executive employees of the federal government for tortureing to death
more than three members of a protected class of l\/.[exican American

l citizens without the authorization of the United States government
(ix) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause the petitioner Eric Flores severe

pain to the soles of his feet for long durations exceeding calendar days

inwhich was.equivalent in intensity to a great amount of pain to the

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 42 of 61 Page|D #: 42

soles of the petitioners feet so as to prevent the petitioner from walking

v during the course of his daily business in pursueing criminal charges
against the organized group of executive employees of the federal
government that are persons of white american national origin for
useing deadly technology to torture to death more than three members
of a protected class of mexican american citizens of the United States
without the authorization of the United States government

(x) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national to use advanced technology with a direct signal to
the satellite in outerspace that has the capability of calculateing a
genetic code to cause the petitioner Eric Flores severe pain to his jaw
bone for long durations exceeding calendar days in which was
equivalent in intensity to a broken jaw bone almost leading to the
petitioners death requiring medical treatment from a h`ceeworld medical
professional in a freeworld hospital named Sierra lVledical Center

located at 3280 Joe Battle Blvd., El‘Paso texas 7 9936.

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 43 of 61 Page|D #: 43

(xi) The petitioner Eric Flores complains that there are diplomatic

persons of__another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outersp ace that has the cap ability of
calculateing a genetic co de to cause the petitioner Eric Flores severe
ankle pain for long durations exceeding minutes in which was
equivalent in intensity to broken ankle resulting in a great amount of
pain requireing medical treatment from a forensic medical
professionalin a Jn'eeworld hospital named Sierra l\/ledical Center
locatedat 3280 Joe Battle Blvd., El Paso Texas 7 9936.

(xii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outersp ace that has the cap ability of
calculateing a genetic code to profoundly disrupt the personality and
senses of the petitioner Eric Flores for long durations exceeding

calendar days in which is equivalent in intensity to take physical

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/.14 Page 44 of 61 Page|D #: 44

control of his mental state of mind to compel him into an act of dures by
a calculated procedure to enact the same breathing arytha_matics as
another person of l\/lexican , African , or white American national origin '
so as give an indication of that persons capability of using deadly
technology to impair the petitioners respatory function with the specich
intent of causeing the death of the petitioner or his immediate relatives '
for the purpose of intimidateing the petitioner to discontinue
communicateing to federal law enforcement agencies to prevent an
investigation that can result in lawful sanction against the
aforementioned person for their negligent torturious conduct that has
resulted in the death of more than four of my immediate relatives
without then authorization of the United States government
(xiii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause the petitioner Eric Flores electric

currents to sensitive parts of the brain for long durations exceeding

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Case 6:14-cV-06042-RTD Document 1 Filed 03/2'7/14 Page 45 of 61 Page|D #: 45

calendar days in which was equivalent in intensity to an electric chair
execution almost leading to his death requiring medical treatment from
a forensic medical professional to keep him from dieing.

(ivx) The petitioner Eric Flores complains that there are diplomatic

' persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause the petitioner Eric Flores severe
psychological harm for long durations exceeding calendar years in
which was equivalent in intensity to the explosion of a nuclear weapon

almost leading to the petitioners death requiring medical treatment

from a forensic medical professional to keep the petitioner from dieing.

(E) The petitioner Erio Flores snther deseribes the sets of torture that
were inflicted upon his brother Andy Flores whom is of competent and

sound mind to attest to the following acts or'omissions of cruel and

unusual punishment

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 46 of 61 Page|D #: 46

(i) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability»of '
calculateing a genetic code to cause Andy Flores severe mental pain for
long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his brain that profoundly
disrupt his personality and senses for the purpose of takeing physical
control of his mental state of mind`to compel him into an act of dures
such as using or solicitateing a controlled substance named cocaine that
is drastically deteriateing his physical and mental health almost
resulting in his death requiring medical treatment from a medical
professional in a freeworld hospital named Sierra Medical Center
located at `8280 Joe Battle Blvd., El Paso Texas 79938-

(ii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white v

American national origin to use advanced technology with a direct

Cas'e 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 47 of 61 Page|D #: 47

signal to the satellite in outersp ace that has the cap ability of

calculateing a genetic code to cause Andy Flores severe spinal pain for
long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his upper and lower back that
resulted in an impairment of his body functions almost leading to his
death requiring medical treatment nom a medical professional in a
neeworld hospital named Sierra Medical Center located at 3280 Joe
Battle Blvd., El Paso Texas 7 9938.
(iii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Andy Flores severe heart pain for

. long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his heart such as cardiac and
respatory failure almost resulting in his death requiring medical

treatment nom a medical professional in a neeworld hospital named

 

 

` Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 48 of 61 Page|D #: 48

Sierra l\/.[edical Center located at 3280 Joe Battle Blvd., El Paso Texas

79938.

(iv) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of ,
calculateing a genetic code to cause Andy Flores severe abdominal pain '
for long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain in his stomach such a
combustion in his lower abdominal region causeing him to deficate
blood during his bowmovement almost leading to his death requiring
medical treatment from a medical professional in a freeworld hospital
named Sierra l\/.[edical Center located at 3280 Joe Battle Blvd., El Paso
Tere's 799`38.

(v) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white

American national origin to use advanced technology with a direct

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 49 of 61 Page|D #: 49

signal to the satellite in outerspace that has the cap ability of

calculateing a genetic co de to virtuely communicate vulgar or malicious
language to harrasse Andy Flores mental state of mind for long
durations exceeding calendar years which was equivalent in intensity to
an extreme amount of mental distress that resulted in mental
exhaustion leading to sleep deprivation almost resulting in his death
requiring medical treatment from a forensic medical professional in a
freeworld hospital named Sierra l.\/ledical Center located at 3280 Joe
Battle Blvd., El Paso Texas 7 9938.

(vi) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate threats to use a
weapon such as a gun to shoot and cause the death of Andy Flores or
his immediate relatives in retaliation|to the invocation of his
constitutional rights to complain against the organized group of

executive employees of the federal government for tortureing to death

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14' Page 50 of 61 Page|D #: 50

more than three`members of a protected class of Mexican American
citizens without the authorization of the United States government

(vii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to take physical control of Andy Flores
mental state of mind while he is driving a vehicle for the purpose of
compeling him into an act of dures such as crashing his vehicle into
another object or person so as.to cause him serious physical injury
almost leading to his death requiring medical treatment n‘om a forensic
medical professional in a freeworid hospital named Sierra lVle_dical
Center located at 3280 joe Battle Blvd., El Paso Texas 7 9938.

(viii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct

signal to the satellite in outersp ace that has the capability of

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 51 of 61 Page|D #: 51

calculateing a genetic code to take physical control of another persons

mental state of mind while that person is driving another vehicle for the
purpose of compeloling that person into an act of dures such as crashing
his vehicle into Andy Flores or his immediate relatives in attempt to
cause there death as a form of retaliation to the invocation of his
constitutional rights to complain against the organized group of
executive employees of the federal government for tortureing to death
more than three members of a protected class of l\/.[exicanlAmerican
citizens without the authorization of the United States government

(F) 'l‘he petitioner Eric Flores further describes the acts of torture that
were inflicted upon his sister Joann Flores whom is of competent and
sound mind to attest to the following acts or omissions of cruel and
unusual punishment

(i) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of

calculateing a genetic code to cause Joanna Flores severe mental pain

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Rage 52 of 61 Page|D #: 52

for long durations exceeding calendar years which-was equivalent in

intensity to an extreme amount of pain to her brain that profoundly
disrupt her personality and senses for the purpose of takeing physical
control of her mental state of mind to compel her into an act of dures

v such as using or solicitateing a controlled substance named cocaine that
is drastically deteriateing her physical and mental health almost
resulting in her death requiring medical treatment nom a medical
professional in a freeworld hospital named Sierra Medical Center
located at 3280 Joe Battle Blvd., El Paso Texas 7 9938.

(ii) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of
executive employees of the federal government that are'persons of white
American national origin to use advanced technology'with a direct
signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to cause Joanna Flores severe spinal pain for
long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to her upper and lower back
that caused her an impairment of her body functions almost resulting in

her death requiring medical treatment from a medical professional in a

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 53 of 61 Page|D #: 53

freeworid hospital named Sierra l\/.[edical Center located at 3280 Joe

Battle Blvd., El Paso Texas 7 9938.

tni) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white

American national origin to use advanced technology with a direct

signal to the satellite in outersp ace that has the cap ability of
calculateing a genetic code to cause Joanna Flores severe heart pain for
long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to her heart such as cardiac and
respatory failure almost resulting in her death requiring medical
treatment irom a medical professional in a ireeworld hospital named
Sierra l\/ledical Center located at 3280 Joe Battle Blvd., El Paso Texas

7 9938. , l

(iv) The petitioner Eric Flores complains that.there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of

 

Case 6:14-cV-06042-RTD Documen't 1 Filed 03/27/14 Page 54 of 61 Page|D #: 54

l

calculateing a genetic code to cause Joanna Flores severe abdominal
pain for long durations exceeding calendar years which-was equivalent
in intensity to an extreme amount of pain in her stomach such as a
combustion in her lower abdominal region causeing her to deficate blood
during her bowmovement almost leading to her death requiring medical
treatment from a medical professional in a heeworld hospital named

Sierra lV.[edical Center located at 3280 Joe Battle Blvd-, El Paso Texas
7 9938.

(v) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group_ of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to virtuely communicate vulgar or malicious
language to harrasse Joanna Flores mentalstate of mind for long
durations exceeding calendar years which was equivalent in intensity to
an extreme amount of mental distress that caused her mental

exhaustion leading to sleep deprivation almost resulting in her death

requiring medical treatment from a forensic medical professional in a

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 55 of 61 Page|D #: 55

freeworld hospital named Sierra l\/ledical Center located at 8280 Joe

Battie Bivd-, m i>_aso Texas 79938-

tvi) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government-that are persons of white-

American national origin.to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate threats to use a
weapon such as a gun to shoot and cause the death of Joanna Flores or
her immediate relatives in retaliation to the invocation of her .
constitutional rights to complain against the organized group of
executive employees of the federal government for tortureing to death
more than three members of aprotected class of l\/_[exican American
citizens without the authorization of the United States government
-(vii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white-

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 56 of 61 Page|D #: 56

calculateing a genetic code to take physical control of Joanna Flores
mental state of mind while she is driving a vehicle for the purpose of
compeling her into an act of dures such as crashing her vehicle into
another object or person so as to cause her serious physical injury
almost leading to her death requiring medical treatment nom a forensic
medical professional in a freeworld hospital named Sierra Medical
Center located at 3280'joe Battle Blvd., El Paso Texas 7 9938.

(viii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outersp ace that has the cap ability of
calculateing a genetic code to take physical control of another persons
mental state of mind while that person is driving another vehicle for the
purpose of compelling that person into an act of dures such as crashing
that persons vehicle into Joanna Flores or her immediate relatives in
attempt to cause there death as a form'of retaliation to the invocation of
the petitioners constitutional rights to complain against the organized

group of executive employees of the federal government for tortureing to

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 57 of 61 Page|D #: 57

death more than three members of a protected class of l\/lexican -
Arnerican citizens Without the authorization of the United States
government

(ix) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of l
calculateing a genetic code to profoundly disrupt the personality and
senses of Joanna Flores for long durations exceeding calendar days in
which was equivalent in intensity to take physical control of her mental
state of mind to compel her by a calculated procedure into a'an act of
dures to have sexual intercourse with another person without her
awareness or her consent constituteing sexual assault in the iirst
degree resulting in vineral diseases requiring medicaltreatment from
aforensic medicalprofessional in a freeworld hospital named Sierra
l\/ledical Center locatedat 3280 Joe Battle Blvd.,El Paso Texas 7 9936.
(G) The petitioner Eric Flores describes the acts of torture that were

inflicted upon his brother Steven Flores whom is of competent and

 

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 58 of 61 Page|D #: 58

sound mind to attest to the following acts or omissions of cruel and

unusual punishment d

(i) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to cause Steven Flores severe mental pain
for long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his brain that profoundly
disrupted his personality and senses for the purpose of takeing physical
control of his mental state of mind to compel him into an act of dures
such as using or solicitateing a controlled substance named marijuana
that is drastically deteriateing his physical and mental health almost
resuliing in his death requiring medical treatment from a medical
professional in a h`ceeworld hospital named Sierra l\/ledical Center
located at 3280 Joe Battle Blvd., El Paso Texas 7 9938.

(ii) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of

 

 

Case 6:14-cV-06042-RTD Document~ 1 Filed 03/27/14 Page 59 of 61 Page|D #: 59

executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the capability of
calculateing a genetic code to cause Steven Flores severe ear drum pain
for long durations exceeding calendar years which was equivalent in
intensity to an extreme amount of pain to his ear drum that caused him
an ear infection almost resulting in his death requiring medical
treatment from a medical professional in a freeworid hospital named
Sierra l\/ledical Center located at 3280 Joe Battle Blvd., El Paso Texas
'79938.

(iii) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to cause Steven Flores severe eye socket
pain for long durations exceeding calendar years which was equivalent
in intensity to an extreme amount of pain to his eye socket that caused

him an eye infection leading to blindness almost resulting in his death

 

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 60 of 61 Page|D #: 60

requiring medical treatment from a medical professional in a freeworld
hospital named Sierra Medical Center located at 3280 Joe Battle Blvd.,
El l?aso Texas 7 9938.

(iv) The petitioner Eric Flores complains that there are diplomatic
persons of another nation that have solicitated an organized group of
executive employees of the federal government that are persons of white
American national origin to use advanced technology with a direct
signal to the satellite in outersp ace that has the cap ability of
calculateing a genetic code to cause Steven Flores severe abdominal
pain for long durations exceeding calendar years which was equivalent
in intensity to an extreme amount of pain in his stomach such as a
combustion in his lower abdominal region causeing him to deficate
blood during his bowmovement almost leading to',his death requiring
medical treatment from a medical professional in a freeworld hospital
named Sierra l\/ledical Center located at 3280 Joe Battle Blvd., El l?aso
' Texas 7 9988.

(v) The petiiioner Eric Flores complains_that there are diplomatic
persons of another nation that have solicitated an organized group of

executive employees of the federal government that are persons of white

 

Case 6:14-cV-06042-RTD Document 1 Filed 03/27/14 Page 61 of 61 Page|D #: 61

American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the capability of
calculateing a genetic code to virtuely communicate vulgar or malicious
language to harrasse Steven Flores mental state of mind for long
durations exceeding calendar years which was equivalent in intensity to
an extreme amount of mental distress that caused him mental '
exhaustion leading to sleep deprivation almost resulting in his death
requiring medical treatment from a forensic medical professional in a
freeworld hospital named Sierra Medical Center located at 3280 Joe
Battle Blvd., El Paso Texas 7 9938.

(vi) The petitioner Eric Flores complains that there are diplomatic

persons of another nation that have solicitated an organized group of

executive employees of the federal government that are persons of white _
American national origin to use advanced technology with a direct

signal to the satellite in outerspace that has the cap ability of
calculateing a genetic code to virtuely communicate threats to use a
weapon such as a gun to shoot and cause the death of Steven Flores or
his immediate relatives in retaliation to the invocation of his

constitutional rights to complain against the organized group of

